                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                     CIVIL ACTION NO. 5:21-CV-00138-KDB-DSC


 MVP ENTERPRISES LLC,                           )
                                                )
                   Plaintiff,                   )
                                                )
 v.                                             )                     ORDER
                                                )
 MARATEK ENVIRONMENTAL INC.,                    )
                                                )
                 Defendant.                     )



       THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

Affidavit [for Matthew K. Stiles]” (document #5) filed November 15, 2021. For the reasons set

forth therein, the Motion will be granted. The Court notes local counsel’s representation that he

has consulted with opposing counsel, but no other counsel has made an appearance in this case.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Kenneth D. Bell.


       SO ORDERED.


                                               Signed: November 15, 2021




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